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  7   Attorneys for Defendant Attorney General
      Rob Bonta, in his official capacity
  8
  9                      IN THE UNITED STATES DISTRICT COURT
 10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
 12   MOBILIZE THE MESSAGE, LLC;                   2:21-cv-05115-VAP (JPRsx)
      MOVING OXNARD FORWARD,
 13   INC.; and STARR COALITION                    DEFENDANT ROB BONTA’S
      FOR MOVING OXNARD                            NOTICE OF MOTION AND
 14   FORWARD,                                     MOTION TO DISMISS
                                                   COMPLAINT
 15                                  Plaintiffs,
                                                   Date:  September 20, 2021
 16                v.                              Time:  2:00 P.M.
                                                   Courtroom:
                                                          8A
 17   ROB BONTA, in his official capacity          Judge: The Honorable
      as Attorney General of California,                  Virginia A. Phillips
 18                                         Trial Date: Not set
                                 Defendant. Action Filed: 6/23/2021
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 21        TO PLAINTIFFS MOBILIZE THE MESSAGE, et al.:
 22        TAKE NOTICE THAT on September 20, 2021, at 2:00 p.m., or as soon
 23   thereafter as this motion may be heard, in courtroom 8A, 8th floor, in the United
 24   States District Court for the Central District of California, Western Division, 350
 25   West 1st Street, Los Angeles, California, Defendant Rob Bonta, will move to
 26   dismiss this action under Federal Rule of Civil Procedure 12(b)(6) on the grounds
 27   that the Complaint fails to state a claim upon which relief can be granted. This
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  1   motion is based on the Complaint, the accompanying memorandum of points and
  2   authorities, and any argument to be made at the hearing on this motion.
  3          This motion is made following the conference of counsel pursuant to L.R. 7-3,
  4   which took place on August 9, 2021.
  5
  6   Dated: August 16, 2021                   Respectfully submitted,
  7                                            ROB BONTA
                                               Attorney General of California
  8                                            HEATHER HOESTEREY
                                               Supervising Deputy Attorney General
  9
                                                   /s/ Jose A. Zelidon-Zepeda
 10
                                               JOSE A. ZELIDON-ZEPEDA
 11                                            Deputy Attorney General
                                               Attorneys for Defendant Attorney General
 12                                            Rob Bonta, in his official capacity
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